

Matter of Board of Mgrs. of the Liberty View Condominium v New York City Dept. of Fin. (2020 NY Slip Op 06381)





Matter of Board of Mgrs. of the Liberty View Condominium v New York City Dept. of Fin.


2020 NY Slip Op 06381


Decided on November 10, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 10, 2020

Before: Manzanet-Daniels, J.P., Kapnick, Mazzarelli, Moulton, JJ. 


Index No. 158003/19 Appeal No. 12307 Case No. 2020-00784 

[*1]In the Matter of The Board of Managers of the Liberty View Condominium, Petitioner-Appellant,
vNew York City Department of Finance, Respondent-Respondent.


Lynn Gartner Dunne, LLP, Mineola (Kenneth L. Gartner of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York (Kira Wallisch of counsel), for respondent.



Judgment, Supreme Court, New York County (Arthur F. Engoron, J.), entered January 2, 2020, denying the petition to compel respondent to correct an error in description of the residential portion of its building and adjust the property tax assessments accordingly, and dismissing the proceeding brought pursuant to CPLR article 78, unanimously affirmed, without costs.
The article 78 court correctly found that respondent rationally addressed petitioner's request for a clerical correction to gross square footage and an attendant correction to the tax assessments in the relevant tax years by performing a reassessment of the building's value to determine whether there was a need for reducing the actual assessed values and concluding that no change in the actual assessed values was
warranted (see Administrative Code of City of NY § 11-206; Matter of Better World Real Estate Group v New York City Dept. of Fin., 122 AD3d 27, 35 [2d Dept 2014]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 10, 2020








